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                      UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, KENT                            CIVIL ACTION NO. 12-859
 ANDERSON, STEVEN
 DOMINICK, ANTHONY                              JUDGE LANCE M. AFRICK
 GIOUSTAVIA, JIMMIE
                                                MAGISTRATE JUDGE
 JENKINS, GREG JOURNEE,
                                                NORTH
 RICHARD LANFORD,
 LEONARD LEWIS, EUELL
 SYLVESTER, and MARK
 WALKER, on behalf of themselves
 and all other similarly situated, et
 al.

 VERSUS

 MARLIN GUSMAN, Sheriff,
 Orleans Parish

                            NOTICE TO THE COURT

MAY IT PLEASE THE COURT:

         During the status conference with the court today on November 23, 2020,

the Court inquired about jail populations and specifically TDC and OJC. The City

respectfully wishes to inform the Court that as of November 19, 2020, there were

zero (0) juveniles housed at OJC. In addition, the OJC inmate figures provided by

OPSO are likely lower. First, the OPSO’s current inmate numbers include federal

inmates that are not within the jurisdiction of the OPSO. Second, there typically



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are DOC inmates at OJC that should be transferred to DOC on a regular basis. The

City is requesting that the OPSO provide weekly reports describing the number of

inmates that are eligible to be transferred to DOC; as the Court is aware, these

transfers to DOC were not timely made several years ago which increased the

number of inmates housed at OJC (then OPP).

                                        Respectfully submitted,

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                                                COUNSEL FOR:
                                                THE CITY OF NEW ORLEANS




                           CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing was filed on this 23rd day of

November 2020, with the Clerk of Court by using the CM/ECF system, which will

send a notice of electronic filing to all participating counsel of record.


                                          /s/ Harry Rosenberg




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